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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:
Cynthia A. Buzzelli                      :     Case No. 21-21847-GLT
            Debtor(s)                    :     Chapter 13
                                         :
Ronda J. Winnecour, Trustee              :
            Movant(s)                    :     Related to Document 20
                                         :     Hearing: 3/9/22 at 9:00 a.m.
             vs.                         :
                                         :
Cynthia A. Buzzelli                      :
            Respondent(s)                :

                     CHAPTER 13 TRUSTEE’S OBJECTION TO
                          SEPTEMBER 8, 2021 PLAN1

      RONDA J. WINNECOUR (“Trustee”) objects to the Plan for the following reasons:

                               THE PLAN IS IN DEFAULT

      1.     Debtor’s Chapter 13 bankruptcy case was commenced August 19, 2021,

and as of February 2022 is in month 6 of the plan.

      2.     Debtor’s Chapter 13 Plan dated September 8, 2021 requires monthly

plan payments in the amount of $1,810.00.

      3.     As of the date of the within Objection, the Chapter 13 Trustee has

received no plan payments.

      4.     Through February 2022 the amount of plan payment arrears totals

$9,050.00.

      5.     The Plan does not appear feasible based on: The lack of payments.




1
    The burden of proof for an objection to confirmation of a Chapter 13 Plan is a
shifting one. The party objecting to confirmation bears the initial burden of presenting
some evidence to support the objection. In re McKinney, 507 B.R. 534, 539 (Bankr.
W.D. Pa. 2014). Once the objecting party satisfies this initial burden, the burden shifts
to the debtor, who always holds the ultimate burden of proof in the matter, to prove by
a preponderance of the evidence that the plan complies with the requirements of 11
U.S.C. § 1325. Id.
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      6.     Based on the payment/plan defaults the           Trustee requests that

confirmation of the Debtor’s plan be denied and that Debtor’s case be dismissed.

      WHEREFORE, the Trustee respectfully requests that confirmation of the

Debtor’s plan dated September 8, 2021 be denied and that Debtor’s case be dismissed.


                                       RONDA J. WINNECOUR,
                                       CHAPTER 13 TRUSTEE

Date: February 25, 2022                By: /s/ James C. Warmbrodt
                                       James C. Warmbrodt, PA I.D. 42524
                                       Attorney for Chapter 13 Trustee
                                       US Steel Tower, Suite 3250
                                       600 Grant Street
                                       Pittsburgh, PA 15219
                                       (412) 471-5566
                                       jwarmbrodt@chapter13trusteewdpa.com
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             vs.                         :
                                         :
Cynthia A. Buzzelli                      :
            Respondent(s)                :


                            CERTIFICATE OF SERVICE

      I hereby certify that on the 25th of February 2022, I served one true and correct

copy of the foregoing document on the following parties in interest by United States

first-class mail, postage prepaid, addressed as follows:

Joseph S. Sisca, Esquire
Office of the United States Trustee
Liberty Center, Suite 970
1001 Liberty Avenue
Pittsburgh, PA 15222-3721

Cynthia A. Buzzelli
161 Laurie Drive
Pittsburgh, PA 15235

Dennis M. Sloan, Esquire
106 S. Main Street, Suite 305
Butler, PA 16001
                                                /s/Rosa Richard
                                                Office of Chapter 13 Trustee
                                                U.S. Steel Tower – Suite 3250
                                                600 Grant Street
                                                Pittsburgh, PA 15219
                                                (412) 471-5566
                                                cmecf@chapter13trusteewdpa.com
